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UNITED STATES DISTRICT COURT

for the
District of Massachusetts

United States of America

V.
Austln Wl|kerson Case NO- 1:17_mj_07219_JCB_3

 

Defendant
ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:
(l) The defendant must not violate federal, state, or local law while on release.
(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
the court may impose.

The defendant must appear at:

 

Place

 

OI`l

 

Dale and Time
If blank, defendant will be notified of next appearance

(5) The defendant must sign an Appearance Bond, if ordered.

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ADDITIONAL CONDITIONS OF RELEASE

IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

( ) (6) The defendant is placed in the custody of:

Person or organization

 

Address (only if above is an organization)

City and state Tel. No.

 

 

 

who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court immediately
if the defendant violates a condition of release or is no longer in the custodian’s custody.

(X)

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X XXX

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(X)

(X)

(X)

(X)

 

 

 

 

 

 
   

 

 

 

 

 

 

Signcd:
Cu.rtodian Date
( X ) (7) The defendant must:

(a) submit to supervision by and report for supervision to the Pl'Obainn/Pl'eil’lal Ser'ViCeS as directed ,
telephone number , no later than

(b) continue or actively seek employment.

(c) continue or start an education program.

(d) surrender any passport to: The Offlce of Probation & Pretria| Services

(e) not obtain a passport or other international travel document.

(f) abide by the following restrictions on personal association, residence, or travel: Malnfain residence and dO not move Wl'ihOUf

(g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
including: as identified bv the qovernment. (Except in the presence of Counse|).

(h) get medical or psychiatric treatment:

(i) return to custody each at o’clock after being released at o’c|ock for employment, schooling,
or the following purposes:

(i) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
necessary.

(k) not possess a firearm, destructive device, or other weapon.

(l) not use alcohol ( ) at all ( ) excessively.

(m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
medical practitioner.

(n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with random
frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited
substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited
substance screening or testing.

(O) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
supervising of`ficer.

(p) participate in one of the following location restriction programs and comply with its requirements as directed.

( ) (i) Curfew. You are restricted to your residence every day ( ) from to , or ( ) as
directed by the pretrial services office or supervising officer; or

( X ) (ii) l~lome Detention. You are restricted to your residence at all times except for employment; education; religious services; medical,
substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities
approved in advance by the pretrial services office or supervising officer; or

( )(iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
court appearances or other activities specifically approved by the court.

(q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
requirements and instructions provided.

( )You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
supervising officer.

(r) report as soon as possible, to the pretrial services office or supervising officcr, every contact with law enforcement personnel, including
arrests, questioning, or traffic stops.

(S)

 

 

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AO 199C (Rcv. 09.'08) Advice ofPenaltics Page 3 of 3 Pages
ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:
YOU AR.E ADVISED OF THE POLLOW!NG PENALTIES AND SANCT!ONS:

Violating any ofthe foregoing conditions of release may result in the immediate issuance ofa Warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment1 a fine, or both,

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.

lt is a crime punishable by up to ten years in prison, and a 3250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering retaliation, or intimidation are
significantly more serious ifthey involve a killing or attempted killing.

lf, after reiease, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed lf you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more f you will be fined

not more than 5250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony f you will be fined not more than 3250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor - you will be fined not more titan SIUO,()OO or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Del`endant

I acknowledge that l am the defendant in this case and that l am aware ofthe conditions of rclease. I promise to obey all conditions

of release, to appear as directed, and surrender to serve any sentence imposed. l am ware of the penalties and sanctions set forth above.
1 acknowledge that a warrant for my arrest has been signed by art authorized ` dicial officer and is being held in abeyance. The
warrant may be activated without notice co me if l abscond in violation of he conditions of my release on electronic monitoring.

 

 

 

Dcfendam '.r Signamrc

Ct`!y and S!a!e

Direetions to the United States Marshal

( `/ ) The defendant is ORDERED released afier processing
( The United States marshal is O’ l - » . l o keep the defendant in custody until notified by the clerk orjudge that the defendant

has posted bond and/or co Miiilzi`il:o_ onditions for release lf still in custody, the defendant must be produced before
the appropriate judge at ' ` ' ` ~

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Date: `\~ ';_ , "

   
 
  
    

 

Judr`ci`al Ojicer '.r Sigrratw'e

_Ste\_n_a Yor|-< Depu_ty__(_)|erk

Prr'nred name and title

DlSTR.[BUT[ON: COURT DEFF.NDAN'I` l’RE'l`RlAL SERVICF. U.S. A”ITORNEY U.S. MARSH.'\L

